      Case 3:08-cv-02912-JSW Document232-1
      Case3:08-cv-02912-JSW  Document 234 Filed 10/12/10 Page
                                           Filed10/08/10 Page11 of 2
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     Lexmark International, Inc.
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12
                                        UNITED STATES DISTRICT COURT
13
                                   NORTHERN DISTRICT OF CALIFORNIA
14
                                           SAN FRANCISCO DIVISION
15
     NUANCE COMMUNICATIONS, INC., a                   Case No: 3:08-CV-02912 JSW (MEJ)
16   Delaware corporation,
                                                      [PROPOSED] ORDER GRANTING LEAVE
17                    Plaintiff,                      FOR ABBYY USA SOFTWARE HOUSE,
                                                      INC. AND LEXMARK INTERNATIONAL,
18           vs.                                      INC. TO DESIGNATE AN ADDITIONAL
                                                      TERM FOR CONSTRUCTION
19   ABBYY USA SOFTWARE HOUSE, INC., a
     California corporation, AND LEXMARK
20   INTERNATIONAL, INC., a Delaware
     corporation,
21
                      Defendants.
22
     AND RELATED CLAIMS
23
             WHEREAS ordinarily the Court will construe no more than ten terms;
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             WHEREAS the parties to this Markman proceeding have met and conferred to limit to no
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     more than ten the terms designated for construction; and
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27           WHEREAS good cause supports this Order granting ABBYY USA Software House, Inc.

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     Stipulation and [Proposed] Order
                                                                   Case No.: 3:08-CV-2912-JSW (MEJ)
      Case 3:08-cv-02912-JSW Document232-1
      Case3:08-cv-02912-JSW  Document 234 Filed 10/12/10 Page
                                           Filed10/08/10 Page22 of 2
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 1   (“ABBYY”) and Lexmark International, Inc. (“Lexmark”) leave to designate “groups of
 2   elements” (the 5,261,009 patent, Claim 22) as the eleventh term for construction at this Markman
 3   hearing; two different software company defendants, three patents, nine representative claims,
 4   and ABBYY’s and Lexmark’s abandonment of three proposed terms constituting such good
 5   cause.
 6            NOW, THEREFORE, the Court grants ABBYY and Lexmark leave to designate “groups
 7   of elements” as the eleventh term for construction at this Markman hearing.
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 9   Dated: October __,
                    12 2010
                                                             IT IS SO ORDERED
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                                                             _____________________________
12                                                           U.S. DISTRICT JUDGE JEFFREY S.
                                                             WHITE
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     [Proposed] Order
                                                                      Case No.: 3:08-CV-2912-JSW (MEJ)
